          Case 1:20-cv-10540-AK Document 225 Filed 11/20/23 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
RONALD F. DANTOWITZ,                 )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )
                                     )   CIVIL ACTION NO. 20-CV-10540-AK
DEXTER SOUTHFIELD, INC.,             )
                                     )
                  Defendant.         )
____________________________________)

                DEFENDANT’S MOTION FOR LEAVE TO FILE
      RESPONSE TO PLAINTIFF’S OBJECTIONS TO ORDER ON MOTION FOR
                      ATTORNEYS’ FEES AND COSTS

       Defendant Dexter Southfield, Inc. respectfully requests that the Court grant leave to file a

response to Plaintiff’s Objections to Order on Motion for Attorneys’ Fees and Costs to address

Plaintiff’s misrepresentations of fact and law. Defendant requests leave to file a response of not

more than five (5) pages in length within seven (7) days of the date of the allowance of this

motion.

       Defendant’s request to file a response will not unfairly prejudice Plaintiff. However, the

inability to file a response would unfairly prejudice Defendant by depriving it of a chance to

address factual inaccuracies in Plaintiff’s submission. “[A] district court has great leeway in the

application and enforcement of its local rules.” Gauthier v. U.S., 2011 WL 3902770 (D. Mass.

Sept. 2, 2011) (Saylor, J.). Defendant believes that a response, of not more than five (5) pages,

will materially aid the Court in adjudicating Plaintiff’s claim for attorney’s fees and costs.

       WHEREFORE, Defendant Dexter Southfield, Inc. respectfully requests that the Court

allow Defendant’s request a response to Plaintiff’s Objections to Order on Motion for Attorneys’

Fees and Costs.
        Case 1:20-cv-10540-AK Document 225 Filed 11/20/23 Page 2 of 4




                                   Respectfully submitted,
                                   DEXTER SOUTHFIELD, INC.,

                                   By its attorneys,

                                   /s/ Anthony L. DeProspo, Jr.
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Date: November 20, 2023




                                     -2-
          Case 1:20-cv-10540-AK Document 225 Filed 11/20/23 Page 3 of 4




                      Certificate of Compliance with Local Rule 7.1(a)(2)

       I, Anthony L. DeProspo, Jr., counsel for Defendant, certify that I contacted Plaintiff’s
counsel via email in an effort to narrow or resolve the issues that are the subject of this Motion,
and that Plaintiff’s counsel does not assent to the relief sought in this Motion.

November 20, 2023                                      /s/Anthony L. DeProspo, Jr.
                                                       Anthony L. DeProspo, Jr.




                                                 -3-
          Case 1:20-cv-10540-AK Document 225 Filed 11/20/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, filed through the ECF system will be served
electronically upon all registered participants as identified in the Notice of Electronic Filing
(NEF) and that paper copies will be sent to those indicated as non-registered parties this 20th day
of November 2023.

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                                             /s/ Anthony L. DeProspo, Jr.
                                             Anthony L. DeProspo, Jr.




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